15 F.3d 52
    Aaron ROTH, Plaintiff-Appellant,v.DIMENSIONS HEALTH CORPORATION, d/b/a Prince George's GeneralHospital and Medical Center;  Joseph J. Colella, Jr., d/b/aCritical Care Associates;  Peter M. Jamieson;  Gabriel B.Jaffe;  Benjamin Slivko, Defendants-Appellees.
    No. 91-2691.
    United States Court of Appeals,Fourth Circuit.
    Argued March 4, 1992.Decided Jan. 28, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore;  Edward S. Northrop, Senior District Judge.  (CA-91-1307-N)
      ARGUED:  Robert Roy Michael, Shadoan &amp; Michael, Rockville, MD, for Appellant.  Jeffrey Lee Harding, Sasscer, Clagett &amp; Bucher, Upper Marlboro, MD, for Appellees.  ON BRIEF:  Phillip R. Zuber, Sasscer, Clagett &amp; Bucher, Upper Marlboro, MD, for Appellees Colella and Slivko;  Albert D. Brault, M. Kathleen Parker, Brault, Graham, Scott &amp; Brault, Rockville, MD, for Appellee Jaffe;  Thomas A. Farrington, Paul A. Turkheimer, Farrington, Smallwood &amp; Wells, Landover, MD, for Appellees Jamieson and Dimensions Health Corp.
      Before WIDENER, Circuit Judge, SPROUSE, Senior Circuit Judge, and BLATT, Senior United States District Judge for the District of South Carolina, sitting by designation.
      OPINION
      PER CURIAM:
    
    
      1
      We referred this case to the Court of Appeals of Maryland by order entered April 15, 1993 and reported in 992 F.2d 36 (4th Cir.1993).
    
    
      2
      The Court of Appeals of Maryland responded to our request with its opinion filed November 15, 1993 and reported in 332 Md. 627, 632 A.2d 1170 (1993).
    
    
      3
      Pursuant to the opinion of the Court of Appeals of Maryland, this case is remanded to the district court for return by that court to the Arbitration Office mentioned in the statute involved for arbitration proceedings under the Maryland Health Claims Arbitration Act, Md.Cts. &amp; Jud.Proc.Code Ann. Secs. 3-2A-01 to 3-2A-09 (1989 Repl.  Vol. &amp; Supp.1993).
    
    
      4
      The judgment of the district court is accordingly vacated, and the case is remanded for action consistent with this opinion and the opinion of the Court of Appeals of Maryland, as mentioned above.
    
    
      5
      VACATED AND REMANDED WITH INSTRUCTIONS.
    
    